                 Case 2:21-cv-00031-BJR Document 18 Filed 01/13/21 Page 1 of 2




 1                                                               The Honorable Barbara J. Rothstein

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9 PARLER LLC,

10                              Plaintiff,                No. 2:21-cv-00031-BJR
11          v.                                            DEFENDANT’S NOTICE OF
                                                          FILING PHYSICAL MATERIALS
12 AMAZON WEB SERVICES, INC.,                             WITH THE CLERK
13                            Defendant.
14

15          Exhibits C and E to the Declaration of Ambika K. Doran in Support of Amazon Web
16 Services, Inc.’s Opposition to Parler’s Motion for Temporary Restraining Order are being filed

17 in physical form on CD with the Clerk’s Office for the Western District of Washington. The CD

18 will remain in the Clerk’s Custody until appropriate disposition pursuant to the Local Rules of
19 the Western District of Washington.

20          DATED this 13th day of January, 2021.
21                                                  Davis Wright Tremaine LLP
                                                    Attorneys for Amazon Web Services, Inc.
22
                                                    By /s/ Ambika Kumar Doran
23                                                     Ambika Kumar Doran, WSBA #38237
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24                                                     Seattle, WA 98104-1610
                                                       Telephone: 206-622-3150
25                                                     E-mail: ambikadoran@dwt.com
26                                                      Alonzo Wickers IV, Cal. State Bar #169454
                                                              pro hac vice application forthcoming
27

                                                                             Davis Wright Tremaine LLP
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              Case 2:21-cv-00031-BJR Document 18 Filed 01/13/21 Page 2 of 2



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 1                                                     Los Angeles, CA 90017
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